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      Exhibit A
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CERTIFIED MAIL #70151660000044067858 Case Number:                      2016-CI-16386           ®III is E'.~dq<.-~~~~'
                                                                                                    2016CI16386 S00001
CONSUELO GONZALEZ ET AL
Plaintiff                                                                                            IN THE DISTRICT COURT
vs.                                                                                                   37th JUDICIAL DISTRICT
LIBERTY BflUTUAL INSURANCE COMPANY                                                                   BEXAR COUNTY,TEXAS
oefendant                                                            CITATION
(Note: Attached document may contain additional litiganls).

"THE STATE OF TEXAS"
DIRECTED T0: LIBERTY MUTUAL INSURANCE COMPANY


                         BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
                         211 E 7TH ST 620
                         AUSTIN TX 78701-3218
"You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk
 who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a defaultjudgment may be taken against you." Said petition was filed on the 21st
day of September, 2016.
ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 27TH DAY OF SEPTEMBER A.D., 2016.

PETITION




DEREK L FADNER                                                                    Dorlrla I{ay WKinney .
ATTORNEY FOR PLAINTIFF
411 N SAM HOUSTON PKWY E 200                                                      Bexar County District Clerk
HOUSTON, TX 77060                                                                 101 W. Nueva, Suite 217
                                                                                  San Antonio, Texas 78205
                                                                                  By :   Eneyda Contreras-ImperriaC, Deputy

                                                              Officer's Return


Came to hand ,on the 27th day of September 2016, A.D., at 11:07 o'clock A.M. and
EXECUTED (NOT EXECUTED) by CERTIFIED MAIL, on the     day of             , A.D.,
20_ , by delivering to                                            a true copy of
this Citation, upon which I endorse the date of delivery, together with the
accompanying copy of the PETITION

Cause of failure to execute this Citation is


                                                                                   Donna Kay M'Kinney
                                                                                   Clerk of the District Courts of
                                                                                   Bexar County, Texas

                                                                                 By:Eneyda C'ontreras-ImpedaC Deputy
                                                                                                              ORIGINAL (DK003)
FILED                   Case   5:16-cv-01096-DAE Document 1-2 Filed 11/02/16 Page 5 of 32
9/21/2016 4:30:08 PM
Donna Kay McKinney
                                                                                          CIT CML W/JD/ SA ~)-
Bexar County District Clerk
Accepted By: Nikki J Garcia

                                             CAUSE NO. 2016C116386

             CONSUELO & JON GONZALEZ                                    §            IN THE DISTRICT COURT
                                                                        §
                               Plaiatrff                                §
                                                                        §
             V.                                                         §            BEXAR COUNTY, TEXAS
                                                                        §
                                                                        §
             LIBERTY MUTUAL INSURANCE
             COMPANY
                                                                        §
                                                                        §
                                                                                 37TH         JUDICIAL DISTRICT

                                 Dlefwdant                              §



                        PLAINTIFF CONSUELO & JON GONZALEZ'S ORIGINAL PETITION


             TO THE HONORABLE JUDGE OF SAID COURT:

                      COMES NOW, Consuelo & Jon Gonzalez, (hereinafter referred to as "Plaintiff '), complaining of

             Liberty Mutual Insurance Company, (hereinafter referred to as "Defendant") and for cause of action would

             respectfully show unto this Honorable Court and Jury as follows:


                                                   DISCOVERY CONTROL PLAN

             1. Plaintiff intends for discovery to be conducted under Level 2 of Texas Rule of Civil Procedure 190.3 and

                  affirmatively pleads that this suit is not governed by the expedited-actions process of Texas Rule of Civil

                  Procedure 169 because Plaintiff seeks monetary relief of over $100,000.


                                                                     PARTIES

             2. Plaintiff is an individual residing in Bexar County, Texas.

             3. Liberty Mutual Insurance Company is a doinestic insurance company engaging in the business of

                  insurance in the State of Texas. Defendant may be served with process by serving its registered agent of




             PlaintiffConsuelo & Jon Gontiale~'s Original Petition                                                  Page 1 1
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    service, Corporation Service Company, located at the following address: 211 East 7' Street, Suite 620,


    Austin, Texas 78701-3218.


                                                  JURISDICTION

4. The Court has jurisdiction over this cause of action because the amount in controversy is within the


    jurisdictional limits of the Court.


5. The Court has jurisdiction over Defendant Liberty Mutual Insurance Company because Defendant is a


    domestic insurance company that engages in the business of insurance in the State of Texas and Plaintiff's


    causes of action arise out of Defendant's business activities in the State of Texas. Specifically, Liberty


    Mutual Insurance Company sought out and marketed for insurance in Texas and has "purposefully


    availed" itself of the privilege of conducting acrivities in Texas. Kelly v. General Interior Constr., Inc.,


    301 S.W.3d 653, 660-61 (Tex. 2010).


                                                         VENUE

6. Venue is proper in Bexar County, Texas, because the Property is situated in Bexar County, Texas. TEX.


    CIV. PRAC. & REM. CODE § 15.032.


                                                         FACTS

7. Plaintiff purchased a policy from Defendant Liberty Mutual Insurance Company, (hereinafter referred to


    as "the Policy"), which was in effect at the time of loss.


8. The Policy was purchased to insure Plaintiff's property, (hereinafter referred to as "the Property"), which


    is located at 25819 Whata View, San Antonio, Texas 78260.


9. Defendant Liberty Mutual Insurance Company and/or its agent sold the Policy insuring the Property to


    Plaintiff.


PlaintiffConsuelo & Jon Gontialeti's Original Petition                                                 Page 1 2
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10. Plaintiff is a"consumer" as defined under the Texas Deceptive Trade Practices Act ("DTPA") because


    they is an individual who sought or acquired by purchase or lease, goods or services, for commercial,


    personal or household use.


11. On or about Apri124, 2016, Plaintiff experienced a severe weather related event which caused substantial


    damage to the Property and surrounding homes and businesses in the area. The Property's damage


    constitutes a covered loss under the Policy issued by Defendant Liberty Mutual Insurance Company.


    Plaintiff subsequently opened a claim on April 24, 2016 and .Defendant Liberty Mutual Insurance


    Company assigned an adjuster to adjust the claim.


12. Thereafter, Defendant Liberty Mutual Insurance Company wrongfully underpaid Plaintiff's claim and


    refused to issue a full and fair payment for the covered loss as was rightfully owed under the Policy.


13. Defendant made numerous errors in estimating the value of Plaintiff's claim, as exhibited by its assigned


    adjuster's method of investigation and estimation of Plaintiff's loss, all of which were designed to


    intentionally minimize and underpay the loss incurred by Plainriff. Defendant's assigned adjuster failed


    to fully quantify Plaintiff's covered losses, thus demonstrating that Defendant's assigned adjuster did not


    conduct a thorough investigation of Plaintiff's claim and/or intentionally adjusted Plaintiff's claim


    improperly.


14. Specifically, Defendant, independently and through its assigned adjuster, intentionally and knowingly


    conducted a substandard investigation of the Property. This is evidenced by Defendant's assigned -


    adjuster's estimate, which failed to include all necessary items Plaintiff is entitled to under the Policy to


    place the Property in a pre-loss condition. These necessary items are covered and required under the



Plaintiff Conruelo &Jon Gontiale1°r Original Petition                                                   Page 1 3
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    International Building Code and/or International Residential Code, as adopted by the State of Texas in


    2001.


15. In addition, the Occupational Safety and Health Administration ("OSHA") dictates, when working on


    buildings with "unprotected sides and edges" that "each employee on a walking/working surface


    (horizontal and vertical surface) with an unprotected side or edge which is 6 feet (1.8m) or more above a


    lower level SjIL be protected from falling by the use of guardrail systems, safety net systems, or


    personal fall arrest systems." Occupational Safety and Health Act of 1970 § 1926.501(b)(1) (emphasis


    added). This protection was intentionally not included or reflected within the scope of work provided by


    Defendant for Plaintiff's damages to the Property as an attempt to further deny Plaintiff benefits owed


    under the Policy.


16. Defendant's estimate therefore grossly undervalued and did not allow for adequate funds to cover the cost


    of repairs and therefore grossly undervalued all of the damages sustained to the Property. As a result of


    Defendant's conduct, Plaintiff's claim was intentionally and knowingly underpaid.


17. Defendant's assigned adjuster acted as an authorized agent of Defendant Liberty Mutual Insurance


    Company. Defendant's assigned adjuster acted within the course and scope of their authority as authorized


    by Defendant Liberty Mutual Insurance Company. Plaintiff relied on Defendant and Defendant's assigned


    adjuster to properly adjust the claim regarding the Property and to be issued payment to fix such damage,


    which did not happen and has not been rectified to date.


18. Defendant Liberty Mutual Insurance Company failed to perform its contractual duries to adequately


    compensate Plaintiff under the terms of the Policy. Specifically, Defendant refused to pay the full



PlaintiffConsuelo & Jon Gontialeti's Originall'etition                                              Page 14
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         proceeds owed under the Policy. Due demand was made by Sovereign Adjusting Services for proceeds to


         be in an amount sufficient to cover the damaged Property. All conditions precedent to recovery under the


          Policy had, and have, been carried out and accomplished by Plaintiff. Defendant Liberty Mutual Insurance


         Company's conduct constitutes a breach of the insurance contract between Defendant and Plaintiff.
                                                               ,
     19. Defendant and/or Defendant's assigned agent sold the Policy to Plaintiff, making various statements and


         representations to Plaintiff that the Property would be covered. Relying on the promises and


         representations made by Defendant and/or Defendant's assigned agent, Plaintiff filed a claim under the


          Policy with the belief that the Property would be covered after a severe weather event such as the one that


          damaged the Property.


     20. Defendant misrepresented to Plaintiff that the damage to the Property was not covered under the Policy,


         even though the damage was caused by a covered and named peril under the Policy. Defendant's conduct


         constitutes a violation of the Texas Insurance Code, for Unfair Settlement Practices for "misrepresenting


         to a claimant a material fact or policy provision relating to the coverage at issue[.]" TEX. INS. CODE §


         541.060(a)(1).


     21. Defendant failed to make an attempt to settle Plaintiff's claim in a prompt, fair and equitable manner.


         Because of the obvious damage to the Property, Defendant was reasonably clear its liability to Plaintiff.


         Defendant's conduct constitutes a violation of the Texas Insurance Code, for Unfair Settlement Practices.


         TEX. INS. CODE § 541.060(a)(2)(A).


     22. Defendant failed to explain to Plaintiff the reasons for its offer of an inadequate settlement. Specifically,


         Defendant failed to offer Plaintiff adequate compensation, without any reasonable explanation for why



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     PlaintiffConsuelo & Jon Gontialeti's Orriginal Petition                                                 Page 1 5
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         full payment was not being made. Furthermore, Defendant did not communicate that any future


        settlements or payments would be forthcoming to pay for the entire loss covered under the Policy, nor did


        Defendant provide any explanation for the failure to adequately settle Plaintiff's claim. Defendant's


        conduct consritutes a violation of the Texas Insurance Code, for Unfair Settlement Pracrices for "failing


        to promptly provide to a policyholder a reasonable explanation of the basis in the policy. .. for the insurer's


        denial of a claim or offer of a compromise settlement of a claim[.]" TEX. INS. CODE § 541.060(a)(3).


    23. Defendant failed to affirm or deny coverage of Plaintiff's claim within a reasonable time. Specifically,


        Plaintiff did not receive timely indication of acceptance or rejection, regarding the full and entire claim,


        in writing within fifteen (15) days from Defendant. Defendant's conduct constitutes a violation of the
                                      ,

        Texas Insurance Code, for Unfair Settlement Practices and Notice of Acceptance or Rejection of Claim.


        TEX. INS. CODE §§ 541.060(a)(4), 542.056(a).


    24. Under the terms of the Policy, Defendant refused to fully compensate Plaintiff, by lrnowingly and


        intentionally conducting an unreasonable investigation. Specifically, Defendant performed a results-


        oriented investigation of Plaintiff's claim, which resulted in a biased, unfair and inequitable evaluation of


        Plaintiff's loss to the Property. Defendant's conduct constitutes a violation of the Texas Insurance Code,


        Unfair Settlement Practices. TEX. INS. CODE § 541.060(a)(7).
L
    25. Defendant Liberty Mutual Insurance Company failed to meet its obligations under the Texas Insurance


        Code to acknowledge the receipt, begin an investigation, and request all information reasonably necessary


        to investigate Plaintiff's claim within fifteen (15) days of receiving notice of Plaintiff s claim. Defendant's




    PlaintiffConsuelo &.Jon Gon1aleti.r Original Petition                                                     Page 1 6
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    conduct constitutes a violation of the Texas Insurance Code, Receipt of Notice of Claim. TEX. INS.


    CODE § 542.055(a)(1)-(3).


26. Defendant failed to accept or deny Plaintiff's full and entire claim, within 15 days, even after receiving


    all necessary information provided by Plaintiff and Sovereign Adjusting Services. Defendant's conduct


    constitutes a violation of the Texas Insurance Code, Notice of Acceptance or Rejection of Claim. TEX.


    INS. CODE § 542.056.


27. Defendant failed to meet its obligation under the Texas Insurance Code regarding payment of claims


    without delay. Defendant refused to issue payment within the mandated period of five (5) days. To date,


    Plaintiff has not yet received full payment for their claim, even though Defendant's liability is without


    question. Defendant's conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of


    Claims. TEX. INS. CODE § 541.057.


28. From and after the time Plaintiff's claim was presented to Defendant Liberty Mutual Insurance Company,


    the liability of Defendant to pay the full claim in accordance with the terms of the Policy was more than


    reasonably clear. However, Defendant has refused to pay Plaintiff in full, despite there being no basis


    whatsoever on which a reasonable insurance company would have relied on to deny full payment.


    Defendant's conduct constitutes a breach of the common law duty of good faith and fair dealing. See Viles


     v. SecurityNationallns. Co., 788 S.W.2d 556, 567 (Tex. 1990) (holding that an insurer has a duty to its


    insureds to "investigate claims thoroughly and in good faith" and an insurer can only deny a claim after a


    thorough investigation shows that there is a reasonable basis to deny that claim).




PlaintiffConsuelo & fon Gontialeti's Original.Petition                                               Page 1 7
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29. Defendant knowingly and recklessly made false representations to Plaintiff, as described above, as to


    material facts and/or knowingly concealed material information from Plaintiff.


30. Defendant knowingly and purposefully made several misrepresentations about the Policy issued to


    Plaintiff. Defendant's conduct constitutes violations of the Texas Insurance Code, Misrepresentation


    Regarding Policy or Insurer and Misrepresentarion of Insurance Policy. TEX. INS. CODE §§


    541.051(1)(A), 541.061(1)(3).


31. As a result of Defendant's wrongful acts and omissions, Plaintiff was forced to retain the professional


    services of McClenny Moseley & Associates, who is representing Plaintiff with respect to these causes of


    action.


32. Due to the reckless and/or negligent and/or intentional misrepresentations of the Defendant, Plaintiff


    believed they had no other option but to hire an attorney, seek new insurance coverage and/or attempt and


    fail to fix the Property.


33. 'Each and every one of the representations, as described above, concerned material facts, and absent such


    representations, Plaintiff would not have acted as they did.


34. Each and every one of the representations, as described above, was made by the Defendant recklessly


    and/or negligently without any knowledge of its truth and as a positive assertion.


35. As a result of Defendant's errors and/or omissions and/or other misrepresentations, Plaintiff has been


    severely underpaid and their reliance upon those errors, omissions and misrepresentations have been to


    Plaintiff's detriment.




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36. At all times relevant, Plaintiff was and is a consumer for purposes of the Texas Deceptive Trade Practices


      — Consumer Protection Act ("DTPA")


37. Plainriff's experience is not an isolated case. The acts and omissions of Defendant Liberty Mutual


      Insurance Company committed in this case, or in similar cases, occur with such frequency that they


      constitute a general business practice of Defendant with regard to handling these types of claims.


      Defendant Liberty Mutual Insurance Company's entire process is unfairly designed to reach favorable


      outcomes for the company at the expense of the policyholder. Due to these continuous, systematic, and


      concerted actions to defraud, manipulate and deny policy benefits to Plaintiff and other insureds,


      Defendant should be punished.


                                         CONDITIONS PRECEDENT
  A


38. All conditions precedent to recovery by P.laintiff have been met or have occurred.


                                                         AGENCY

39. All acts by Defendant Liberty Mutual Insurance Company were undertaken and completed by its officers,


      agents, servants, employees, and/or representatives. All such acts were either done with the full


      authorization or ratification of Defendant Liberty Mutual Insurance Company and/or were completed in


      its normal and routine course and scope of employment.


40. Defendant and Defendant's assigned adjuster's conduct constitutes multiple violations of the Texas


      Insurance Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). All violations under this


      subsection are made actionable by TEX. INS. CODE § 541.151.




PlaintiffConsuelo & Jon Gontialeti's Original Petition                                               Page 1 9
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41. Defendant yis liable for the unfair and deceptive acts of its assigned adjuster because he/she meets the


    definition of a"person" as defined by the Texas Insurance Code. The term "person" is defined as "any


    individual, corporation, association, partnership, reciprocal or inter insurance exchange, Lloyds plan,


    fraternal benefit society, or other legal entity engaged in the business of insurance, including an agent,


    broker, adjusteror life and health insurance counselor." Tex.Ins.Code §541.002(2) (emphasis added). See


     also LibertyMutuallns. Co. v. Ganison Contractors, Inc. 966 S.W.2d 482, 484 (Tex. 1998) (holding an

    insurance company employee to be a person for the purpose of bringing a cause of action against them


    under the Texas Insurance Code and subjecting them to individual liability).


42. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


    paragraphs.


                                                   NEGLIGENCE

43. Plaintiff entrusted Defendant to properly adjust Plaintiff's insurance claim for the Property damage.


    Defendant did not properly adjust the claim and misinformed Plaintiff of the severity of the Property


    damage. Defendant had and owed a duty to ensure that the Property damage was properly adjusted.


    Nevertheless, Defendant failed to ensure that Plaintiff's damage was properly adjusted. This failure is a


    clear breach of Defendant's duty, and as a result, Plaintiff suffered significant injuries.


44. Defendant Liberty Mutual Insurance Company and its assigned adjuster had and owed a legal duty to


    Plaintiff to properly adjust all losses associated with the Property. Defendant, individually and through


    its assigned adjuster, breached this duty in a number of ways, including, but not limited to, the following:




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                  A. Defendant, individually and through its assigned adjuster, was to exercise due care in


                       adjusting and paying policy proceeds regarding the Property;


                  B. Defendant, individually and through its assigned adjuster, had a duty to competently and


                       completely handle and pay all covered losses associated with the Property;


                  C. Defendant, individually and through its assigned adjuster, failed to properly complete all


                       adjusting activities associated with Plaintiff's damages; and,


                  D. Defendant's acts, omissions, and/or breaches, individually and through its assigned


                       adjuster, did great damage to Plaintiff, and were a proximate cause of Plaintiff's damages.


                                          BREACH OF CONTRACT

45. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


    paragraphs.


46. Defendant Liberty Mutual Insurance Company's conduct constitutes a breach of the insurance contract


    made between Defendant Liberty Mutual Insurance Company and Plaintiff.


47. According to the Policy, which Plaintiff purchased, Defendant Liberty Mutual Insurance Company had

                                                                     i
    the absolute duty to investigate Plaintiffls damages, and pay Plaintiff policy benefits for the claims made      ~


    due to the extensive storm-related damages.


48. As a result of the storm-related event, Plaintiff suffered extreme weather related damages.


49. Despite objective evidence of weather related damages provided by Plaintiff and their representatives,


    Defendant Liberty Mutual Insurance Company breached its contractual obligations under the Policy by


    failing to pay Plaintiff cost related benefits to properly ,repair the Property, as well as for related losses




PlaintiffConsuela &,Jon Gon1aleti's Original Petition                                                   Page 1 11
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     associated with the subject loss event. As a result of this breach, Plaintiff has suffered additional actual


     and consequential damages.


                 VIOLATIONS OF THE TEXAS DECEPTIVE PRACTICES ACT
                                & TIE-IN-STATUTES

50. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


    paragraphs.


51. Defendant and/or its assigned adjuster engaged in false, misleading, or deceptive acts or practices that


    constitute violations of the Texas Deceptive Trade Practices Act ("DTPA"), which is codified in the Texas


    Business and Commerce Code ("TEX. BUS. & COM. CODE"), including but not limited to:


                   A. Representing that an agreement confers or involves rights, remedies, or obligations which


                        it does not have or involve, or which are prohibited by law (TEX. BUS. & COM. CODE


                        § 17.46(b)(12));


                   B. Misrepresenting the authority of a salesman, representative, or agent to negotiate the £nal


                        terms of a consumer transaction (TEX. BUS. & COM. CODE § 17.46(b)(14));


                   C. Failing to disclose information concerning goods or services which were known at the


                        time of the transaction, and the failure to disclose such information was intended to


                        induce the consumer into a transaction into which the consumer would not have entered


                        had such information been disclosed (TEX. BUS. & COM. CODE § 17.46(b)(24));


                   D. Using or employing an act or practice in violation of the Texas Insurance Code (TEX.


                        BUS. & COM. CODE § 17.50(a)(4));




PlaintiffConsuelo & Jon Gontialeti's Original Petition                                                 Page 1 12
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                       E. Unreasonably delaying the investigation, adjustment, settlement offer and prompt


                            resolution of Plaintiff's claim (TEX. INS. CODE § 541.060(a)(2)-(5));


                       F. Failure to properly investigate Plaintiff's claim (TEX. fNS. CODE § 541.060(7)); and/or


                       G. Hiring and relying upon a biased adjuster, in this case Defendant's assigned adjuster, to


                            obtain a favorable, results-oriented report, and to assist Defendant in severely


                            underpaying and/or denying Plaintiff's damage claim (TEX. BUS. & COM. CODE §
                                                                                                    ,




                            17.46(31)).


    52. As described in this Original Petition, Defendant Liberty Mutual Insurance Company represented to


~       Plaintiff that their Policy and Liberty Mutual Insurance Company's adjusting and investigative services

                                                                ~
        had characteristics or benefits that it actually did not have, which gives Plaintiff the right to recover


        proceeds. TEX. BUS. & COM. CODE § 17.46(b)(5).


    53. As described in this Original Petition, Defendant Liberty Mutual Insurance Company represented to


        Plaintiff that their Policy and Liberty Mutual Insurance Company's adjusting and investigative services


        were of a particular standard, quality, or grade when they were of another, which stands in violation of §    ~


        17.46 (b)(7).


    54. By Defendant Liberty Mutual Insurance Company representing that they would pay the entire amount


        needed by Plaintiff to repair the damages caused by the weather related event and then not doing s o,


        Defendant has violated §§ 17.46 (b)(5), (7), (12).




    PlaintiffConsuelo & Jon Gontialeti's Orzginall'etition                                               Page 1 13
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55. Defendant Liberty Mutual Insurance Company has breached an express warranty that the damage caused


    by the storm-related event would be covered under Policy. This breach entitles Plaintiff to recover under


     §§ 17.46 (b) (12), (20); 17.50 (a)(2).


56. Defendant Liberty Mutual Insurance Company's actions, as described herein, are unconscionable in that


    Defendant took advantage of Plaintiff's lack of knowledge, ability, and experience to a grossly unfair


    degree. Therefore, Defendant's unconscionable conduct gives Plaintiff the right to relief under §


     17.50(a)(3).


57. Defendant Liberty Mutual Insurance Company's conduct, acts, omissions, and failuies, as described in


    this Original Petition, are unfair practices in the business of insurance and are in violation of § 17.50


    (a)(4).


58. Plaintiff is a consumer, as defined under the DTPA, and relied upon these false, misleading, and/or


    deceptive acts and/or practices, made by Defendant Liberty Mutual Insurance Company, to their


    detriment. As a direct and proximate result of Defendant's collective acts and conduct, Plaintiff has been


    damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiff


    now sues. All of the aforementioned acts, omissions, and failures of Defendant are a producing cause of


    Plaintiff's damages which are described in this Original Petition.


59. Because Defendant's collective actions and conduct were committed knowingly and intentionally, in


    addition to all damages described herein, Plaintiff is entitled to recover mental anguish damages and


    additional penalty damages, in an amount not to exceed three times such actual damages. § 17.50(b)(1).




Plaint~ffConsuelo & Jon Gon,,aleti's Original Petition                                              Page 1 14
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60. As a result of Defendant's unconscionable, misleading, and deceptive actions and conduct, Plaintiff has


    been forced to retain the legal services of the undersigned attorneys to protect and pursue these claims on


    their behalf. Accordingly, Plaintiff also seeks to recover their costs and reasonable and necessary


    attorneys' fees as permitted under § 17.50(d), as well as any other such damages to which Plaintiff may


    show themselves to be justly entitled by law and in equity.


                         VIOLATIONS OF THE TEXAS INSURANCE CODE

61. Plaintiff hereby incorporates by reference all facts and circumstances set forth within the foregoing


    paragraphs.


62. Defendant and/or its assigned adjuster's actions constitute violations of the Texas Insurance Code ("TEX.


    INS. CODE"), Chapters 541 and 542, including but not limited to:


                   A. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the coverage


                        at issue (§ 541.060(a)(1));


                   B. Failing to attempt, in good faith, to effectuate a prompt, fair and equitable settlement of


                        a claim with respect to which the insurer's liability has become reasonably clear (TEX.


                        INS. CODE § 541.060(a)(2)(A));


                   C. Failing to promptly provide to a policyholder a reasonable explanation of the basis in the


                       policy, in relation to the facts or applicable law, for the insurer's denial of a claim or for


                        the offer of a compromise settlement of a claim § 541.060(a)(3).);




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                   D. Failing to affirm or deny coverage of Plaintiff's claim within a reasonable time and


                        failing within a reasonable time to submit a reservation of rights letter to Plaintiff (§


                        541.060(a)(4));


                   E. Refusing, failing, or unreasonably delaying a settlement offer on the basis that other


                        coverage is available (§ 541.060 (a)(5));


                   F. Refusing, to pay a claim without conducting a reasonable investigation with respect to


                        the claim (§ 541.060(a)(7));


                   G. Forcing Plaintiffs to file suit to recover amounts due under the policy by refusing to pay


                        all benefits due (§ 542.003(b)(5));


                   H. Misrepresenting an insurance policy by failing to disclose any matter required by law to


                        be disclosed, including a failure to make such disclosure in accordance with another


                        provision of this code (§ 541.061(5));


                   I.   Engaging in false, misleading, and deceptive acts or practices under the DTPA


                        (§541.151(2));


                   J.   Failing to pay a valid claim after receiving all reasonably requested and required items


                        from the insured. (§ 542.058(a)).


63. By its acts, omissions, failures and conduct, Defendant Liberty Mutual Insurance Company has engaged


    in unfair and deceptive acts and practices in the business of insurance. Plaintiff, the insured and


    beneficiary, has a valid claim as a result of their detrimental reliance upon Defendant Liberty Mutual


    Insurance Company's unfair or deceptive acts or practices. § 541.151(2).



PlaintiffConsuelo &.Jon Gontialeti's Original Petition                                                 Page 1 16
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64. Defendant's aforementioned conduct compelled Plaintiff to initiate this lawsuit to recover amounts due


    under the Policy, by offering substantially less than the amount ultimately recovered. Defendant refused


    to offer more than the grossly undervalued estimates prepared by Defendant Liberty Mutual Insurance


    Company and/or Defendant's assigned adjuster, despite knowing the actual damages were much greater


    than what was offered. Defendant's conrinued refusal to offer compelled Plaintiff to file suit. § 542.003(5).


65. Since a violation of the Texas Insurance Code is a direct violation of the DTPA, and because Defendant


    Liberty Mutual Insurance Company's actions and conduct were committed knowingly and intentionally,


    Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish damages and


    additional penalty damages, in an amount not to exceed three times the amount of actual damages, for


    Defendant having knowingly, intentionally and/or negligently committed said actions and conduct. §


    541.1,52.


66. .As a result of Defendant Liberty Mutual Insurance Company's urifair and deceptive actions and conduct,


    Plaintiff has been forced to retain the legal services of the undersigned attorneys to protect and pursue


    these claims on their behalf. Accordingly, Plaintiff also seeks to recover their costs and reasonable and


    necessary attorneys' fees as permitted under TEX. BUS. & COM. CODE § 17.50(d) or TEX. INS. CODE


    § 541.152 and any other such damages to which Plaintiff may show themselves justly entitled by law and


    in equity.


                               BREACH OF THE COMMON LAW DUTY
                                 OF GOOD FAITH & FAIR DEALING

67. Plaintiff hereby incorporates by reference all facts and circumstances in the foregoing paragraphs.




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68. By its acts, omissions, failures and conduct, Defendant Liberty Mutual Insurance Company has


    collectively and individually breached the common law duty of good faith and fair dealing by conducting


    a results oriented investigation, inadequately adjusting Plaintiff's claim without any reasonable basis, and


    failing to conduct a reasonable investigation to determine whether there was a reasonable basis for the


    denial of Plaintiff's covered loss.


69. Defendant Liberty Mutual Insurance Company has also breached the common law duty of good faith and


    fair dealing by unreasonably delaying payment of Plaintiff's entire claim and by failing to settle Plaintiff's


    claim, as Defendant knew, or should have known, it was reasonably clear that Plaintiff's storm-related


    claims were covered. These acts, omissions, failures, and conduct by Defendant are a proximate cause of


    Plaintiff's damages.


                                                   KNOWLEDGE

70. Each of the acts described above, together and singularly, were done "knowingly" and "intentionally," as


    the terms are used in the Texas Insurance Code, and were a producing cause of Plaintiff's damages


    described herein.


                                                         DAMAGES

71. Plaintiff will show that all of the aforementioned acts, taken together or singularly, constitute the


    producing causes of the damages sustained by Plaintiff.


72. For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff's bargain, which is the amount


    of Plaintiff's claim, together with attorneys' fees.




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73. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff is entitled to


    actual damages, which include the loss of the benefit that should have been paid pursuant to the Policy,


    court costs and attorneys' fees. For knowing conduct of the acts complained of, Plaintiff asks for three


    times Plaintiff's actual damages. TEX. INS. CODE § 541.152.


74. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is entitled to the


    amount of Plaintiff's claim, as well as eighteen (18) percent interest per annum of the amount of Plaintiff's


    claim as damages, together with attorneys' fees. § 542.060.


75. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to compensatory


    damages, including all forms of loss resulting from the insurer's breach of duty, such as additional costs,


    economic hardship, losses due to nonpayment of the amount the insurer owed, and/or exemplary damages


    for emotional distress.


76. For the prosecution and collection of this claim, Plaintiff has been compelled to engage the services of the


    law firm whose name is subscribed to this pleading. Therefore, Plaintiff is entitled to recover a sum for


    the reasonable and necessary services of Plaintiff's attorneys in the preparation and trial of this action,


    including any appeals to the Court of Appeals and/or the Supreme Court of Texas.


77. Defendant's acts have been the producing and/or proximate cause of damage to Plaintiff, and Plaintiff


    seeks an amount in excess of the minimum jurisdictional limits of this Court.


78. More specifically, Plaintiff seeks monetary relief, including damages of any kind, penalties, costs,


    expenses, pre judgment interest, and attorneys' fees, in excess of $200,000.00 but less than $1,000,000.00.




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                                ADDITIONAL DAMAGES & PENALTIES

79. Defendant's conduct was comnutted knowingly and intentionally. Accordingly, Defendant is liable for


    additional damages under the DTPA, TEX. BUS. & COM. CODE § 17.50(b)(1), as well as all operative


    provisions of the Texas Insurance Code. Plaintiff is clearly entitled to the 18% damages allowed under


    TEX. INS. CODE § 542.060.


                                               ATTORNEY'S FEES

80. In addition, Plaintiff is entitled to all reasonable and necessary attorneys' fees pursuant to the Texas


    Insurance Code, DTPA, and TEX. CIV. PRAC. & REM. CODE §§ 38.001-.005..


                                             COMPEL MEDIATION

81. Pursuant to TEX. INS. CODE § 541.161 and TEX. BUS. & COM. CODE § 17.5051, Plaintiff requests


    that Defendant be made to mediate no later than the 30th day of the signed order, following the 90th day


    after the date for which this pleading for relief is served upon Defendant.


                                                  JURY DEMAND

82. Plaintiff demands a jury trial, consisting of citizens residing in Bexar County, Texas, and tenders the


    appropriate fee with this Original Petition.


                                                    DISCOVERY

83. Texas Rule of Civil Procedure 47 has been met in this petition. As such, Plaintiff requests that Defendant


    respond to the Requests for Disclosure, Requests for Production and Interrogatories contained herein:




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                                     I. REOUESTS FOR DISCLOSURE
    1. Pursuant to the Texas Rules of Civil Procedure, Plaintiff request that Defendant Liberty Mutual


         Insurance Company, disclose all information and/or material as required by Rule 194.2, paragraphs


         (a) through (1), and to do so within 50 days of this request.


                                     H. REOUESTS FOR PRODUCTION

    1. Please produce Liberty Mutual Insurance Company's complete claim files from the home, regional


         and local offices, as well as third party adjusters/adjusting firms regarding the subject claim, including


         copies of the file jackets, "field" files and notes, and drafts of documents contained in the file for the


         premises relating to or arising out of Plaintiff's underlying claim.


    2. Please produce the underwriting files referring or relating in any way to the policy at issue in this


         action, including the file folders in which the underwriting documents are kept and drafts of all


         documents in the file.


    3. Please produce a certified copy of the insurance policy pertaining to the claim made subject of this


         lawsuit, including all underwriting files and insurance applications sent on behalf of Plaintiff in their


         attempt to secure insurance on the Property, which is the subject of this suit.


    4. Please produce the electronic diary, including the electronic and paper notes made by Liberty Mutual


         Insurance Company's claims personnel, contractors, and third party adjusters/adjusting firms relating


         to the Plaintiff's claim.


    5. Please produce all emails and other forms of communication by and between all parties in this matter


         relating to the underlying event, claim or the Property, which is the subject of this suit.




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    6. Please produce the adjusting reports, estimates and appraisals prepared concerning Plaintiff's


         underlying claim.


    7. Please produce the field notes, measurements and file maintained by the adjuster(s) and engineers


         who physically inspected the Property, which is the subject of this suit.


    8. Please produce the emails, instant messages and internal correspondence pertaining to Plaintiff's


         underlying claim.


    9. Please produce the videotapes, photographs and recordings of Plaintiff or Plaintiff's home, regardless


         of whether Liberty Mutual Insurance Company intends to offer these items into evidence at trial.


    10. Please produce all communications, correspondence, documents and emails between any and all


         assigned adjusters and/or agents and the Plaintiff, not limited to physical or audio recordings of all


         conversations between Plaintiff and any and all assigned adjusters and/or agents.


    11. Please produce all audio recordings or transcripts of conversations, calls, text, email or any other data


         sent to and from Plaintiff by any and all assigned adjusters and/or agents after their letter of


         representation sent by counsel.


    12. Please provide copies of all marketing material sent on behalf of Liberty Mutual Insurance Company

                                                                             ~
         and/or its agents after the date of loss of the Property, which is the subject of this suit.


    13. Please provide all correspondence between Liberty Mutual Insurance Company and its assigned


         adjuster, and all correspondence between Liberty Mutual Insurance Company and its assigned agents,


         after the date of loss of the Property, which is the subject of this suit.




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                                         III. INTERROGATORIES
    1. Please identify any person Liberty Mutual Insurance Company expects to call to testify at the time of


         trial.


    2. Please identify the persons involved in the investigation and handling of Plaintiff's claim for insurance


         benefits arising from damage relating to the underlying event, claim or the Property, which is the


         subject of this suit, and include a brief description of the involvement of each person identified, their


         employer, and the date(s) of such involvement.


    3. If Liberty Mutual Insurance Company or Liberty Mutual Insurance Company's representatives


         performed any investigative steps in addition to what is reflected in the claims file, please generally


         describe those investigative steps conducted by Liberty Mutual Insurance Company or any of Liberty


         Mutual Insurance Company's representatives with respect to the facts surrounding the circumstances


         of the subject loss. Identify the persons involved in each step.


    4. Please identify by date, author, and result the estimates, appraisals, engineering, mold and other


         reports generated as a result of Liberty MutuallInsurance Company's investigation.


    5. Please state the following concerning notice of claim and timing of payment:


         a.       The date and manner in which Liberty Mutual Insurance Company received notice of the


                  claim;


         b.       The date and manner in which Liberty Mutual Insurance Company acknowledged receipt of .


                  the claim;




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         C.        The date and manner in which Liberty Mutual Insurance Company commenced investigation


                   of the claim;


         d.        The date and manner in which Liberty Mutual Insurance Company requested from the


                   claimant all items, statements, and forms that Liberty Mutual Insurance Company reasonably


                   believed, at the time, would be required from the claimant pursuant to the investigation; and


         e.        The date and manner in which Liberty Mutual Insurance Company notified the claimant in


                   writing of the acceptance or rejection of the claim.


    6. Please identify by date, amount and reason, the insurance proceeds payments made by Defendant, or


         on Defendant's behalf, to the Plaintiff.


    7. Has Plaintiff's claim for insurance benefits been rejected or denied? If so, state the reasons for


         rejecting/denying the claim.


    8. When was the date Liberty Mutual Insurance Company anticipated litigation?


    9. Have any documents (including those maintained electronically) relating to the investigation or


         handling of Plaintiff's claim for insurance benefits been destroyed or disposed of? If so, please


         identify what, when and why the document was destroyed, and describe Liberty Mutual Insurance


         Company's document retention policy.


    10. Does Liberty Mutual Insurance Company contend that the insured's premises were damaged by


         storm-related events and/or any excluded peril? If so, state the general factual basis for this


         contenthon.




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    1 l. Does Liberty Mutual Insurance Company contend that any act or omission by the Plaintiff voided,


         nullified, waived or breached the insurance policy in any way? If so, state the general factual basis for


         this contention.


    12. Does Liberty Mutual Insurance Company contend that the Plaintiff failed to satisfy any condition


         precedent or covenant of the Policy in any way? If so, state the general factual basis for this


         contention.


    13. How is the performance of the adjuster(s) involved in handling Plaintiff's claim evaluated? State


         what performance measures are used and describe Liberty Mutual Insurance Company's bonus or


         incentive plan for adjusters.


                                                   CONCLUSION

84. Plaintiff prays that judgment be entered against Defendant Liberty Mutual Insurance Company and that


    Plaintiff be awarded all of their actual damages, consequential damages, prejudgment interest, additional


    statutory damages, post judgment interest, reasonable and necessary attorneys' fees, court costs and for


    all such other relief, general or specific, in law or in equity, whether pled or un-pled within this Original


    Petition.


                                                         PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff prays they be awarded all such relief to which


they is due as a result of the acts of Defendant Liberty Mutual Insurance Company, and for all such other relief


to which Plaintiff may be justly and rightfully entitled. In addition, Plaintiff requests the award of treble


damages under the Texas Insurance Code, attorneys' fees for the trial and any appeal of this lawsuit, for all




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costs of Court on their behalf expended, for pre judgment and post judgment interest as allowed by law, and

for any other and further relief, either at law or in equity, to which Plaintiff may show the themselves to be

justly entitled.


                                                         RESPECTFULLY SUBMITTED,

                                                         /s/Derek L. Fadner
                                                         MCCLENNY MOSELEY & ASSOCIATES, PLLC
                                                         James M. McClenny
                                                         State Bar No. 24091857
                                                         J. Zachary Moseley
                                                         State Bar No. 24092863
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                                                         ATTORNEYS FOR PLAINTIFF




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Donna Kay McKinney
Bexar County District Clerk
Accepted By: Norma Gonzales
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